Case 1:10-cr-00182-BLW Document 29-3 Filed 07/20/10 Page 1 of 1

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CRIMINAL COVERSHEET CR 10-0182-$

 

DEFENDANT’S NAME: Guadalupe Valenzuela

DEFENSE ATTORNEY:
Address:

Telephone No..:
INVESTIGATIVE AGENT: Dustin Bloxham

Telephone No.: 208-334-1620
AGENCY: DEA

JUVENILE: No

PUBLIC or SEALED: Public
SERVICE TYPE: Warrant

ISSUE: Yes

INTERPRETER: Yes
If YES, language: Spanish

 

CASE INFORMATION: (List miscellaneous, magistrate, CVB,

other related defendants/case numbers)

 

RELATED COMPLAINT: YES
CASE NUMBER: MS 10-6883-S-REB

 

CRIMINAL CHARGING INFORMATION

 

| CHARGING DOCUMENT: Indictment

 

 

 

 

 

 

 

 

 

 

 

Felony: Yes County of Offense: Ada
Class A Misdemeanor: No Estimated Trial Time: 4 days
Class B or C Misdemeanor: No
(Petty Offense)
STATUTE __GOUNT! —— PENALTIES
(Title and Section( FORFEITURE | BRIEF DESCRIPTION (include Supervised Release and
a ion(s)) ALLEGATION | . ; Special Assessment)
27 USC §§ 841(a)(1), (b)(1)(A), 1 Conspiracy to Distribute | Incarceration for 10 years up to

and 846 Methamphetamine life, 5 year supervised release,
$4,000,000.00 fine and $100.00

Special Assessment

Assistant U.S. Attorney: Christian S. Nafzger

Date: July 20, 2010

 

REV. 3/2010

Telephone No.:

 

(208) 334-1211

 

*Required

BLW

 
